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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
               v.                                 :   Case No. 21-cr-75 (RDM)
                                                  :
MATTHEW RYAN MILLER,                              :
                                                  :
        Defendant.                                :

                                    JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and A. Eduardo Balarezo, counsel for Matthew Ryan Miller (“the

defendant”), hereby submit the following Joint Status Report:

       Pursuant to the Court’s July 29, 2021 Minute Order, the parties conferred and submit the

following:

       1. On or about June 14, 2021, the government extended an initial plea offer to the

             defendant in this case. After discussions amongst the parties, the government extended

             a revised plea offer on or about August 26, 2021.

       2. The defense needs additional time to consider the revised plea offer. Consequently, the

             parties request to submit a follow-up Joint Status Report in approximately 30 days to

             determine whether we can reach a pre-trial disposition in this matter.

       3. For the reasons outlined in the Court’s March 17, 2021 Order (ECF No. 29), May 17,

             2021 Minute Order, July 1, 2021 Minute Order, the government’s July 12, 2021 Notice

             of Status of Discovery (ECF No. 36), the July 15, 2021 Minute Order, the July 29, 2021

             Minute Order, and the government’s August 26, 2021 Supplemental Notice of Status
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         of Discovery (ECF No. 39), the parties further believe it is in the interest of justice to

         toll the Speedy Trial Act while the government continues to provide discovery and the

         parties discuss a potential pre-trial disposition of this matter. The parties thus request a

         tolling of the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the

         factors described in 18 U.S.C. 3161(h)(7)(B)(i), (ii), and (iv), as well as 18 U.S.C. §

         3161(h)(1)(G). Therefore, the parties request an exclusion of time under the Speedy

         Trial Act from August 30, 2021, through the next scheduled status date.


      Respectfully submitted,

      CHANNING D. PHILLIPS
      Acting United States Attorney

By:                       /s/                                               /s/
      Kaitlin A. Vaillancourt                               A. Eduardo Balarezo
      Assistant United States Attorney                      Counsel for Matthew Miller
      D.C. Bar No. 1027737                                  BALAREZO LAW
      555 Fourth Street, N.W., Room 4207                    400 Seventh Street, N.W., Suite 306
      Washington, D.C. 20530                                Washington, D.C. 20004
      202-252-2421                                          (202) 639-0999
      kaitlin.vaillancourt@usdoj.gov                        filings@balarezolaw.com




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